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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
 MELISSA FOOTLICK; ROBIN
 SIMKINS; ERIN CLARK; TOBY
 ADAMSON; JAY RUDMAN; AND                           Case No. 1:22-cv-06152
 GRIFFIN CAPRIO,
                                                    Hon. John Robert Blakey
                  Plaintiffs,

 v.

 TOPSTEP LLC; TOPSTEP HOLDINGS
 LLC; TOPSTEPTRADER LLC;
 TOPSTEPPEOPLE INC; PATAK
 HOLDINGS, INC.; and MICHAEL
 PATAK, in his individual capacity,


                 Defendants.



                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Wednesday, March 29, 2023 at 11:00 am, or as soon as
thereafter as counsel may be heard, Defendants shall appear before the Honorable Judge John
Robert Blakey, or any judge sitting in his stead, in the courtroom usually occupied by him in the
United States District Court for the Northern District of Illinois, Eastern Division, Courtroom
1203, at 219 South Dearborn Street, Chicago, Illinois, and present their Motion for Partial
Dismissal & Motion for Continuance of Discovery and Answer Deadlines, a copy of which is
served upon you herewith.

March 20, 2023                                      Respectfully submitted,

                                                  /s/ Margo Wolf O’Donnell
                                                  Margo Wolf O’Donnell (6225758)
                                                  Timothy Frey (6303335)
                                                  Hannah M. Stowe (6323578)
                                                  P. Alexander Ehler (6341583)
                                                  BENESCH, FRIEDLANDER,
                                                    COPLAN & ARONOFF LLP
                                                  71 S. Wacker Drive, Suite 1600
                                                  Chicago, Illinois 60606-2211
                                                  Telephone: 312.212.4982
                                                  Attorneys for Defendants
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                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, does hereby certify that they caused a true and correct copy
of the foregoing to be served upon all parties by electronic mail and this Court’s ECF system, this
20th day of March 2023.



                                                            /s/ Margo Wolf O’Donnell
